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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 VS.                                                         CASE NO: 2:21-cr-83-TPB-NPM

 MARK A. GYETVAY

  JUDGE:               Joan N. Ericksen       COUNSEL FOR      STANLEY J. OKULA, JR.,
                                              GOVERNMENT       DAVID ZISSERSON, AND KEVIN
                                                               SCHNEIDER
  DEPUTY CLERK:        Juan Garcia            COUNSEL FOR      MATTHEW MUELLER, KEVIN
                       Gonzalez               DEFENDANT:       DOWNING AND NICHOLAS
                                                               METCALF
  COURT                Stacey Raikes          DATE/TIME        March 24, 2023
  REPORTER                                                     9:00 AM

                                          Jury Trial Day 5

 Start time: 9:09 am

        Court convenes for day 5 of jury trial.

        Jury escorted into courtroom.

        Attorney Kevin Downing continues direct examination of Thomas Bishop to the
        witness stand. Witness under oath.
        Direct: 9:11 am – 10:10 am
        Defendant’s Exhibit 152: shown to Mr. Bishop. Objections; NOT admitted by
        the Court
        Defendant’s Exhibit 223: shown to Mr. Bishop. Voir Dire by Mr. Okula.
        Objections; NOT admitted by the Court
        Side Bar: 9:19 am – 9:21 am
        Defendant’s Exhibit 17: shown to Mr. Bishop. No objections; admitted by the
        Court
        Defendant’s Exhibit 148: shown to Mr. Bishop. No objections; admitted by the
        Court
        Defendant’s Exhibit 61: shown to Mr. Bishop. No objections; admitted by the
        Court
        Defendant’s Exhibit 7: shown to Mr. Bishop. Not admitted
        Defendant’s Exhibit 33: shown to Mr. Bishop. Objected. Admitted by the Court.
        Side Bar: 9:44 am – 9:49 am
        Defendant’s Exhibit 217: shown to Mr. Bishop. Objected
        Defendant’s Exhibit 217a: shown to Mr. Bishop. Objected.
        Side Bar: 9:55 am – 9:59 am
        Defendant’s Exhibit 150: shown to Mr. Bishop. No objections; admitted by the
        Court
        Side Bar: 10:06 am – 10:08 am
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       Cross by Mr. Okula: 10:10 am – 11:02 am

 11:02 am     MORNING BREAK TAKEN

 11:18 am     COURT IN SESSION

       Cross (Cont.): 11:19 am – 11:52 am
       Government Exhibit 599: shown to Mr. Bishop.
       Redirect: 11:52 am – 11:58 am
       Recross: 11:58 am – 12:06 am
       Witness Excused.

       Defense Rest 12:06 pm

       Jury escorted out of the courtroom.

       Mr. Muller makes rule 29 motions and makes remarks as to Count 13.

       The Court inquires with Mr. Gyetvay if he wishes to testify. Mr. Gyetvay does not
       wish to testify.

       Mr. Okula responds to Mr. Mullers remarks.

 12:24 pm     BREAK TAKEN.

 12:34 pm     COURT IN SESSION

       The Court goes over preliminary matters with the parties. The Court goes over
       jury instructions with the parties.

 1:48 PM      LUNCH BREAK TAKEN

 2:58 pm      COURT IN SESSION

        The court continues to review jury instructions with the parties. The Court goes
 over time limitations for closing arguments.

 3:46 pm    COURT IN RECESS
 TIME IN COURT 5:27




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